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     10                           UNITED STATES DISTRICT COURT

     11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

     12   UNITED STATES OF AMERICA,                No. 2:22-cr-00027-JFW

     13              Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                                   GENOS LEE
     14                   v.

     15   GENOS LEE,

     16              Defendant.

     17

     18        1.    This constitutes the plea agreement between GENOS LEE
     19   (“defendant”) and the United States Attorney’s Office for the Central
     20   District of California (the “USAO”) in the above-captioned case.
     21   This agreement is limited to the USAO and cannot bind any other
     22   federal, state, local, or foreign prosecuting, enforcement,
     23   administrative, or regulatory authorities.

WP   24                              DEFENDANT’S OBLIGATIONS
     25        2.    Defendant agrees to:
     26              a.    At the earliest opportunity requested by the USAO and
     27   provided by the Court, appear and plead guilty to counts five and
     28   eight of the indictment in United States v. GENOS LEE, No. 2:22-cr-
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1    00027-JFW, which charge defendant with possession of fifteen or more

2    unauthorized access devices, in violation of 18 U.S.C. § 1029(a)(3),

3    and possession of stolen mail, in violation of 18 U.S.C. § 1708,

4    respectively.

5               b.    Not contest facts agreed to in this agreement.

6               c.    Abide by all agreements regarding sentencing contained

7    in this agreement.

8               d.    Appear for all court appearances, surrender as ordered

9    for service of sentence, obey all conditions of any bond, and obey

10   any other ongoing court order in this matter.

11              e.    Not commit any crime; however, offenses that would be

12   excluded for sentencing purposes under United States Sentencing

13   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

14   within the scope of this agreement.

15              f.    Be truthful at all times with the United States

16   Probation and Pretrial Services Office and the Court.

17              g.    Pay the applicable special assessments at or before

18   the time of sentencing unless defendant has demonstrated a lack of
19   ability to pay such assessments.

20              h.    Recommend that defendant be sentenced to a term of

21   imprisonment of no less than 30 months and not seek, argue, or

22   suggest in any way, either orally or in writing, that the Court

23   impose a term of imprisonment below 30 months.

24                              THE USAO’S OBLIGATIONS

25        3.    The USAO agrees to:

26              a.    Not contest facts agreed to in this agreement.
27              b.    Abide by all agreements regarding sentencing contained

28   in this agreement.

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1               c.    At the time of sentencing, move to dismiss the

2    remaining counts of the indictment as against defendant.           Defendant

3    agrees, however, that at the time of sentencing the Court may

4    consider any dismissed charges in determining the applicable

5    Sentencing Guidelines range, the propriety and extent of any

6    departure from that range, and the sentence to be imposed.

7               d.    At the time of sentencing, provided that defendant

8    demonstrates an acceptance of responsibility for the offenses up to

9    and including the time of sentencing, recommend a two-level reduction

10   in the applicable Sentencing Guidelines offense level, pursuant to

11   U.S.S.G. § 3E1.1.

12                              NATURE OF THE OFFENSES

13        4.    Defendant understands that for defendant to be guilty of

14   the crime charged in count five, that is, Possession of Fifteen or

15   More Unauthorized Access Devices, in violation of Title 18, United

16   States Code, Section 1029(a)(3), the following must be true:

17   (1) defendant knowingly possessed at least fifteen unauthorized

18   access devices at the same time; (2) defendant knew that the devices
19   were unauthorized; (3) defendant acted with the intent to defraud;

20   and (4) defendant’s conduct in some way affected commerce between one

21   state and another state, or between a state of the United States and

22   a foreign country.

23        5.    Defendant understands that for defendant to be guilty of

24   the crime charged in count eight, that is, possession of stolen mail,

25   in violation of Title 18, United States Code, Section 1708, the

26   following must be true: (1) a letter, a postal card, a package, or
27   mail was stolen from a mail receptacle or some other authorized

28   depository for mail matter; (2) defendant possessed the letter,

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1    postal card, package, or mail; and (3) defendant knew that the

2    letter, postal card, package, or mail was stolen.

3                                       PENALTIES

4         6.    Defendant understands that the statutory maximum sentence

5    that the Court can impose for a violation of Title 18, United States

6    Code, Section 1029(a)(3), is: 10 years’ imprisonment; a 3-year period

7    of supervised release; a fine of $250,000 or twice the gross gain or

8    gross loss resulting from the offense, whichever is greatest; and a

9    mandatory special assessment of $100.

10        7.    Defendant understands that the statutory maximum sentence

11   that the Court can impose for a violation of Title 18, United States

12   Code, Section 1708, is: five years’ imprisonment; a 3-year period of

13   supervised release; a fine of $250,000 or twice the gross gain or

14   gross loss resulting from the offense, whichever is greatest; and a

15   mandatory special assessment of $100.

16        8.    Defendant understands, therefore, that the total maximum

17   sentence for all offenses to which defendant is pleading guilty is:

18   15 years’ imprisonment; a 3-year period of supervised release; a fine
19   of $500,000 or twice the gross gain or gross loss resulting from the

20   offenses, whichever is greatest; and a mandatory special assessment

21   of $200.

22        9.    Defendant understands that supervised release is a period

23   of time following imprisonment during which defendant will be subject

24   to various restrictions and requirements.         Defendant understands that

25   if defendant violates one or more of the conditions of any supervised

26   release imposed, defendant may be returned to prison for all or part
27   of the term of supervised release authorized by statute for the

28   offense that resulted in the term of supervised release, which could

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1    result in defendant serving a total term of imprisonment greater than

2    the statutory maximum stated above.

3         10.   Defendant understands that, by pleading guilty, defendant

4    may be giving up valuable government benefits and valuable civic

5    rights, such as the right to vote, the right to possess a firearm,

6    the right to hold office, and the right to serve on a jury.

7    Defendant understands that he is pleading guilty to a felony and that

8    it is a federal crime for a convicted felon to possess a firearm or

9    ammunition.    Defendant understands that the convictions in this case

10   may also subject defendant to various other collateral consequences,

11   including but not limited to revocation of probation, parole, or

12   supervised release in another case and suspension or revocation of a

13   professional license.     Defendant understands that unanticipated

14   collateral consequences will not serve as grounds to withdraw

15   defendant’s guilty pleas.

16        11.   Defendant and his counsel have discussed the fact that, and

17   defendant understands that, if defendant is not a United States

18   citizen, the convictions in this case make it practically inevitable
19   and a virtual certainty that defendant will be removed or deported

20   from the United States.      Defendant may also be denied United States

21   citizenship and admission to the United States in the future.

22   Defendant understands that while there may be arguments that

23   defendant can raise in immigration proceedings to avoid or delay

24   removal, removal is presumptively mandatory and a virtual certainty

25   in this case.    Defendant further understands that removal and

26   immigration consequences are the subject of a separate proceeding and
27   that no one, including his attorney or the Court, can predict to an

28   absolute certainty the effect of his convictions on his immigration

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1    status.    Defendant nevertheless affirms that he wants to plead guilty

2    regardless of any immigration consequences that his pleas may entail,

3    even if the consequence is automatic removal from the United States.

4                                     FACTUAL BASIS

5         12.   Defendant admits that defendant is, in fact, guilty of the

6    offenses to which defendant is agreeing to plead guilty.           Defendant

7    and the USAO agree to the statement of facts provided below and agree

8    that this statement of facts is sufficient to support pleas of guilty

9    to the charges described in this agreement and to establish the

10   Sentencing Guidelines factors set forth in paragraph 14 below but is

11   not meant to be a complete recitation of all facts relevant to the

12   underlying criminal conduct or all facts known to either party that

13   relate to that conduct.

14        On March 15, 2020, after conducting a traffic stop on

15   defendant’s car, Santa Monica Police Department (“SMPD”) officers

16   detained defendant and searched his car.         During the search, SMPD

17   officers found, among other things, the following: a loaded Glock 9mm

18   semi-automatic handgun; an eight round pistol magazine containing six
19   hollow point 9mm rounds; a counterfeit postal arrow key;

20   approximately 310 pieces of mail and mail matter in other people’s

21   names (“310 Pieces of Mail”); 91 bank, credit, and debit account

22   numbers belonging to people other than defendant (“91 Bank Account

23   Numbers”); 28 Social Security numbers belonging to people other than

24   defendant (“28 Social Security Numbers”); and 64 checks made out to

25   people other than defendant (“64 Checks”), 55 of which were found in

26   the 310 Pieces of Mail.      Defendant admits that he knowingly possessed
27   each of the above-described items that were found in his car.

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1         Defendant admits that each of the 91 Bank Account Numbers and 28

2    Social Security numbers were unauthorized access devices, as they

3    were stolen from their owners.       Defendant further admits that he:

4    (1) knowingly possessed the 91 Bank Account Numbers and 28 Social

5    Security Numbers at the same time and with the intent to defraud; and

6    (2) knew that the 91 Bank Account Numbers and 28 Social Security

7    numbers were unauthorized access devices that had been stolen from

8    their owners.    Defendant also admits that his possession of the 91

9    Bank Account Numbers and 28 Social Security Numbers affected commerce

10   between one state and another state.

11        Defendant admits that he knowingly possessed the 310 Pieces of

12   Mail, which were stolen from authorized mail receptacles.            Defendant

13   further admits that he knew the 310 Pieces of Mail were stolen.

14        Defendant admits that his possession of the 91 Bank Account

15   Numbers, 28 Social Security Numbers, 310 Pieces of Mail, and 64

16   Checks involved more than 10 victims.        Defendant also admits that the

17   64 Checks he possessed had a value of $34,739.59 and were made out to

18   53 separate victims, and that he intended to fraudulently cash the
19   checks for himself.

20                                 SENTENCING FACTORS

21        13.   Defendant understands that in determining defendant’s

22   sentence the Court is required to calculate the applicable Sentencing

23   Guidelines range and to consider that range, possible departures

24   under the Sentencing Guidelines, and the other sentencing factors set

25   forth in 18 U.S.C. § 3553(a).       Defendant understands that the

26   Sentencing Guidelines are advisory only, that defendant cannot have
27   any expectation of receiving a sentence within the calculated

28   Sentencing Guidelines range, and that after considering the

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1    Sentencing Guidelines and the other § 3553(a) factors, the Court will

2    be free to exercise its discretion to impose any sentence it finds

3    appropriate up to the maximum set by statute for the crimes of

4    conviction.

5         14.   Defendant and the USAO agree to the following applicable

6    Sentencing Guidelines factors:

7       Base Offense Level:                     6        U.S.S.G. § 2B1.1(a)(2)

8       Loss Amount of More Than
        $15,000                                +4    U.S.S.G. § 2B1.1(b)(1)(C)
9
        10 or More Victims                     +2    U.S.S.G. § 2B1.1(b)(2)(A)
10
        Possession of a Dangerous
11      Weapon                                 +2      U.S.S.G. § 2B1.1(b)(16)

12   Defendant and the USAO reserve the right to argue that additional

13   specific offense characteristics, adjustments, and departures under

14   the Sentencing Guidelines are appropriate.

15        15.   Defendant understands that there is no agreement as to

16   defendant’s criminal history or criminal history category.

17        16.   Except as provided in Paragraph 2(h), defendant and the

18   USAO reserve the right to argue for a sentence outside the sentencing
19   range established by the Sentencing Guidelines based on the factors

20   set forth in 18 U.S.C. § 3553(a)(1), (a)(2), (a)(3), (a)(6), and

21   (a)(7).

22                         WAIVER OF CONSTITUTIONAL RIGHTS

23        17.   Defendant understands that by pleading guilty, defendant

24   gives up the following rights:

25              a.    The right to persist in a plea of not guilty.

26              b.    The right to a speedy and public trial by jury.
27              c.    The right to be represented by counsel –- and if

28   necessary have the Court appoint counsel -- at trial.           Defendant

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1    understands, however, that, defendant retains the right to be

2    represented by counsel –- and if necessary have the Court appoint

3    counsel –- at every other stage of the proceeding.

4               d.    The right to be presumed innocent and to have the

5    burden of proof placed on the government to prove defendant guilty

6    beyond a reasonable doubt.

7               e.    The right to confront and cross-examine witnesses

8    against defendant.

9               f.    The right to testify and to present evidence in

10   opposition to the charges, including the right to compel the

11   attendance of witnesses to testify.

12              g.    The right not to be compelled to testify, and, if

13   defendant chose not to testify or present evidence, to have that

14   choice not be used against defendant.

15              h.    Any and all rights to pursue any affirmative defenses,

16   Fourth Amendment or Fifth Amendment claims, and other pretrial

17   motions that have been filed or could be filed.

18                          WAIVER OF APPEAL OF CONVICTION
19        18.   Defendant understands that, with the exception of an appeal

20   based on a claim that defendant’s guilty pleas were involuntary, by

21   pleading guilty defendant is waiving and giving up any right to

22   appeal defendant’s convictions on the offenses to which defendant is

23   pleading guilty.     Defendant understands that this waiver includes,

24   but is not limited to, arguments that the statutes to which defendant

25   is pleading guilty are unconstitutional, and any and all claims that

26   the statement of facts provided herein is insufficient to support
27   defendant’s pleas of guilty.

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1                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

2          19.   Defendant agrees that, provided the Court imposes a total

3    term of imprisonment within or below the Sentencing Guidelines range

4    corresponding to an offense level of 12 and the criminal history

5    category calculated by the Court, defendant gives up the right to

6    appeal all of the following: (a) the procedures and calculations used

7    to determine and impose any portion of the sentence; (b) the term of

8    imprisonment imposed by the Court; (c) the fine imposed by the Court,

9    provided it is within the statutory maximum; (d) to the extent

10   permitted by law, the constitutionality or legality of defendant’s

11   sentence, provided it is within the statutory maximum; (e) the term

12   of probation or supervised release imposed by the Court, provided it

13   is within the statutory maximum; and (f) any of the following

14   conditions of probation or supervised release imposed by the Court:

15   the conditions set forth in Second Amended General Order 20-04 of

16   this Court; the drug testing conditions mandated by 18 U.S.C.

17   §§ 3563(a)(5) and 3583(d); and the alcohol and drug use conditions

18   authorized by 18 U.S.C. § 3563(b)(7).
19         20.   The USAO agrees that, provided (a) all portions of the

20   sentence are at or below the statutory maximum specified above and

21   (b) the Court imposes a term of imprisonment within or above the

22   range corresponding to an offense level of 12 and the criminal

23   history calculated by the Court, the USAO gives up its right to

24   appeal any portion of the sentence.

25                       RESULT OF WITHDRAWAL OF GUILTY PLEA

26         21.   Defendant agrees that if, after entering guilty pleas
27   pursuant to this agreement, defendant seeks to withdraw and succeeds

28   in withdrawing defendant’s guilty pleas on any basis other than a

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1    claim and finding that entry into this plea agreement was

2    involuntary, then (a) the USAO will be relieved of all of its

3    obligations under this agreement; and (b) should the USAO choose to

4    pursue any charge that was either dismissed or not filed as a result

5    of this agreement, then (i) any applicable statute of limitations

6    will be tolled between the date of defendant’s signing of this

7    agreement and the filing commencing any such action; and

8    (ii) defendant waives and gives up all defenses based on the statute

9    of limitations, any claim of pre-indictment delay, or any speedy

10   trial claim with respect to any such action, except to the extent

11   that such defenses existed as of the date of defendant’s signing this

12   agreement.

13                    RESULT OF VACATUR, REVERSAL, OR SET-ASIDE

14         22.   Defendant agrees that if any count of conviction is

15   vacated, reversed, or set aside, the USAO may: (a) ask the Court to

16   resentence defendant on any remaining count of conviction, with both

17   the USAO and defendant being released from any stipulations regarding

18   sentencing contained in this agreement, (b) ask the Court to void the
19   entire plea agreement and vacate defendant’s guilty plea on any

20   remaining count of conviction, with both the USAO and defendant being

21   released from all their obligations under this agreement, or

22   (c) leave defendant’s remaining conviction, sentence, and plea

23   agreement intact.     Defendant agrees that the choice among these three

24   options rests in the exclusive discretion of the USAO.

25                            EFFECTIVE DATE OF AGREEMENT

26         23.   This agreement is effective upon signature and execution of
27   all required certifications by defendant, defendant’s counsel, and an

28   Assistant United States Attorney.

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1                                  BREACH OF AGREEMENT

2          24.   Defendant agrees that if defendant, at any time after the

3    signature of this agreement and execution of all required

4    certifications by defendant, defendant’s counsel, and an Assistant

5    United States Attorney, knowingly violates or fails to perform any of

6    defendant’s obligations under this agreement (“a breach”), the USAO

7    may declare this agreement breached.        All of defendant’s obligations

8    are material, a single breach of this agreement is sufficient for the

9    USAO to declare a breach, and defendant shall not be deemed to have

10   cured a breach without the express agreement of the USAO in writing.

11   If the USAO declares this agreement breached, and the Court finds

12   such a breach to have occurred, then: (a) if defendant has previously

13   entered guilty pleas pursuant to this agreement, defendant will not

14   be able to withdraw the guilty pleas, and (b) the USAO will be

15   relieved of all its obligations under this agreement.

16         25.   Following the Court’s finding of a knowing breach of this

17   agreement by defendant, should the USAO choose to pursue any charge

18   that was either dismissed or not filed as a result of this agreement,
19   then:

20               a.    Defendant agrees that any applicable statute of

21   limitations is tolled between the date of defendant’s signing of this

22   agreement and the filing commencing any such action.

23               b.    Defendant waives and gives up all defenses based on

24   the statute of limitations, any claim of pre-indictment delay, or any

25   speedy trial claim with respect to any such action, except to the

26   extent that such defenses existed as of the date of defendant’s
27   signing this agreement.

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1                c.    Defendant agrees that: (i) any statements made by

2    defendant, under oath, at the guilty plea hearing (if such a hearing

3    occurred prior to the breach); (ii) the agreed to factual basis

4    statement in this agreement; and (iii) any evidence derived from such

5    statements, shall be admissible against defendant in any such action

6    against defendant, and defendant waives and gives up any claim under

7    the United States Constitution, any statute, Rule 410 of the Federal

8    Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

9    Procedure, or any other federal rule, that the statements or any

10   evidence derived from the statements should be suppressed or are

11   inadmissible.

12           COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

13                                 OFFICE NOT PARTIES

14         26.   Defendant understands that the Court and the United States

15   Probation and Pretrial Services Office are not parties to this

16   agreement and need not accept any of the USAO’s sentencing

17   recommendations or the parties’ agreements to facts or sentencing

18   factors.
19         27.   Defendant understands that both defendant and the USAO are

20   free to: (a) supplement the facts by supplying relevant information

21   to the United States Probation and Pretrial Services Office and the

22   Court, (b) correct any and all factual misstatements relating to the

23   Court’s Sentencing Guidelines calculations and determination of

24   sentence, and (c) argue on appeal and collateral review that the

25   Court’s Sentencing Guidelines calculations and the sentence it

26   chooses to impose are not error, although each party agrees to
27   maintain its view that the calculations in paragraph 14 are

28   consistent with the facts of this case.         While this paragraph permits

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1    both the USAO and defendant to submit full and complete factual

2    information to the United States Probation and Pretrial Services

3    Office and the Court, even if that factual information may be viewed

4    as inconsistent with the facts agreed to in this agreement, this

5    paragraph does not affect defendant’s and the USAO’s obligations not

6    to contest the facts agreed to in this agreement.

7          28.   Defendant understands that even if the Court ignores any

8    sentencing recommendation, finds facts or reaches conclusions

9    different from those agreed to, and/or imposes any sentence up to the

10   maximum established by statute, defendant cannot, for that reason,

11   withdraw defendant’s guilty pleas, and defendant will remain bound to

12   fulfill all defendant’s obligations under this agreement.            Defendant

13   understands that no one –- not the prosecutor, defendant’s attorney,

14   or the Court –- can make a binding prediction or promise regarding

15   the sentence defendant will receive, except that it will be within

16   the statutory maximum.

17                              NO ADDITIONAL AGREEMENTS

18         29.   Defendant understands that, except as set forth herein,
19   there are no promises, understandings, or agreements between the USAO

20   and defendant or defendant’s attorney, and that no additional

21   promise, understanding, or agreement may be entered into unless in a

22   writing signed by all parties or on the record in court.

23   //

24   //

25   //

26   //
27   //

28   //

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 1                                CERTIFICATION OF DEFENDANT
 2          I have read this agreement in its entirety.        I have had enough

 3     time to review and consider this agreement, and I have carefully and
 4     thoroughly discussed every part of it with my attorney.         I understand
 5     the terms of this agreement, and I voluntarily agree to those terms.

 6     I have discussed the evidence with my attorney, and my attorney has

 7     advised me of my rights, of possible pretrial motions that might be

 8     filed, of possible defenses that might be asserted either prior to or
 9     at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),
10     of relevant Sentencing Guidelines provisions, and of the consequences

11     of entering into this agreement.      No promises, inducements, or
12     representations of any kind have been made to me other than those
13     contained in this agreement.      No one has threatened or forced me in

14     any way to enter into this agreement.       I am satisfied with the

15     representation of my attorney in this matter, and I am pleading
16     guilty because I am guilty of the charges and wish to take advantage

17                       set forth in this agreement, and not for any other

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19
20     GENOS LEE
       Defendant
21

22     II
23     II
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